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                       UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

In re MEDTRONIC, INC. SECURITIES     )   Master File No. 0:13-cv-01686-MJD-KMM
LITIGATION                           )
                                     )   CLASS ACTION
                                     )
This Document Relates To:            )   [PROPOSED] ORDER PRELIMINARILY
                                     )   APPROVING SETTLEMENT AND
        ALL ACTIONS.                 )   PROVIDING FOR NOTICE
                                     )
                                         EXHIBIT A




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          WHEREAS, a securities class action is pending in this Court entitled In re Medtronic,

Inc. Securities Litigation, Master File No. 0:13-cv-01686-MJD-KMM (the “Litigation”);

          WHEREAS, on July 17, 2018, the parties to the Litigation, Plaintiffs Employees’

Retirement System of the State of Hawaii, Union Asset Management Holding AG, and West

Virginia Pipe Trades Health & Welfare Fund, on behalf of themselves and the other

Members of the Class, and defendants Medtronic, Inc. (“Medtronic”), William A. Hawkins,

Gary L. Ellis, Dr. Julie Bearcroft, and Dr. Martin Yahiro (together, “Defendants,” and,

collectively with Plaintiffs, the “Settling Parties”) entered into the Stipulation of Settlement

(the “Stipulation”), which is subject to review under Rule 23 of the Federal Rules of Civil

Procedure and which, together with the Exhibits thereto, sets forth the terms and conditions

for the proposed settlement of the claims alleged in any of the complaints filed in this

Litigation on the merits and with prejudice;

          WHEREAS, Plaintiffs have made an application, pursuant to Rule 23 of the Federal

Rules of Civil Procedure, for an order preliminarily approving the Settlement in accordance

with the Stipulation and allowing notice to Members of the Class as more fully described

herein;

          WHEREAS, the parties to the Stipulation having consented to the entry of this Order;

          WHEREAS, the Court having read and considered: (a) Plaintiffs’ unopposed motion

for preliminary approval of the Settlement, and the papers filed and arguments made in

connection therewith; and (b) the Stipulation and the accompanying Exhibits attached

thereto;



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        WHEREAS, unless otherwise specified all capitalized terms used, but not otherwise

defined, herein have the same meanings as set forth in the Stipulation;1

        NOW THEREFORE, IT IS HEREBY ORDERED, this ____ day of ____________,

2018, that:

        1.    The Court hereby preliminarily approves the Stipulation and the Settlement set

forth therein as being fair, reasonable and adequate to Class Members (defined in ¶1.4 of the

Stipulation), subject to further consideration at the Settlement Hearing described in ¶2 below.

        2.    A hearing (the “Settlement Hearing”) pursuant to Rule 23(e) of the Federal

Rules of Civil Procedure is hereby scheduled to be held before the Court on __________,

2018, at ___ _.m. CT [a date that is approximately 100 calendar days from the date of entry

of this Order], for the following purposes:

              (a)    to determine whether the proposed Settlement is fair, reasonable and

adequate to Class Members, and should be approved by the Court;

              (b)    to determine whether the Judgment as provided under the Stipulation

should be entered, dismissing the Litigation on the merits and with prejudice, and to

determine whether the release by the Class of the Released Claims, as set forth in the

Stipulation, should be provided to the Released Persons;

              (c)    to determine whether the release by the Released Persons of the

Released Defendants’ Claims, as set forth in the Stipulation, should be provided;




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      The Exhibits attached to the Stipulation filed with the Court are incorporated herein as
though set forth in this Order.
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              (d)    to determine whether the proposed Plan of Allocation of the proceeds of

the Settlement is fair and reasonable and should be approved by the Court;

              (e)    to consider Lead Counsel’s application for an award of attorneys’ fees

and expenses, including Plaintiffs’ expenses; and

              (f)    to rule upon such other matters as the Court may deem appropriate.

Notice of the Settlement and the Settlement Hearing shall be given to the Members of the

Class as set forth in ¶¶8 and 11 of this Order.

        3.    The Court may adjourn the Settlement Hearing without further notice to the

Class and reserves the right to approve the Settlement, including, if appropriate, with any

such modifications as may be agreed to by the parties without further notice to the Class.

The Court further reserves the right to enter its Judgment approving the Settlement and

dismissing the Litigation on the merits and with prejudice regardless of whether it has

approved the Plan of Allocation or awarded attorneys’ fees and expenses.

        4.    Defendants shall no later than ten (10) calendar days following the filing of the

Stipulation with the Court serve upon the appropriate State official of each State in which a

Class Member resides and the Attorney General of the United States a notice of the proposed

Settlement in compliance with the requirements of the Class Action Fairness Act of 2005, 28

U.S.C. §1715, et seq. (“CAFA”). Defendants are solely responsible for the costs of the

CAFA notice and administering the CAFA notice.

        5.    The Court approves the form, substance and requirements of: the Notice of

Proposed Settlement of Class Action (the “Notice”); the Proof of Claim and Release form

(the “Proof of Claim”); and the Summary Notice, annexed to the Stipulation as Exhibits A-1,
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A-2, and A-3, respectively, and finds that the form, content, and mailing and distribution of

the Notice and publishing of the Summary Notice, substantially in the manner and form set

forth in ¶¶8 and 11 of this Order, (i) meet the requirements of Rule 23 of the Federal Rules of

Civil Procedure, the United States Constitution (including the Due Process Clause), the

Private Securities Litigation Reform Act of 1995, 15 U.S.C. §78u-4, et seq., as amended, and

all other applicable laws and rules; (ii) is the best notice practicable under the circumstances;

(iii) constitutes due and sufficient notice that is reasonably calculated, under the

circumstances, to apprise Class Members of the pendency of the Litigation, of the effect of

the proposed Settlement (including the releases to be provided thereunder), of Lead

Counsel’s application for an award of attorneys’ fees and expenses, including Plaintiffs’

expenses, of their right to exclude themselves from the Class, and of their right to appear at

the Settlement Hearing; and (iv) constitutes due, adequate, and sufficient notice to all

persons and entities entitled to receive notice of the proposed Settlement. The date and time

of the Settlement Hearing shall be included in the Notice and Summary Notice before they

are mailed and published, respectively.

         6.   The Court approves the appointment of Gilardi & Co. LLC as the Claims

Administrator to supervise and administer the notice procedure in connection with the

proposed Settlement as well as the processing of Proofs of Claim as more fully set forth

below.

         7.   Within five (5) business days of the date of entry of this Order, Medtronic shall

provide or cause Medtronic’s transfer agent to provide to the Claims Administrator

reasonably available transfer records in electronic searchable form, such as Excel, containing
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the names and addresses of Persons who purchased or otherwise acquired Medtronic publicly

traded common stock during the Class Period.

        8.    Within twenty-one (21) calendar days of the entry of this Order (the “Notice

Date”), the Claims Administrator shall cause the Notice and the Proof of Claim, substantially

in the forms annexed to the Stipulation as Exhibits A-1 and A-2, to be mailed by First-Class

Mail, postage prepaid, to all potential Class Members who can be identified with reasonable

effort. The Claims Administrator shall use reasonable efforts to give notice to nominee

purchasers such as brokerage firms and other persons or entities who purchased or otherwise

acquired Medtronic publicly traded common stock during the Class Period as record owners

but not as beneficial owners. Such nominee purchasers are directed, within seven (7)

business days of their receipt of the Notice, to either forward copies of the Notice and Proof

of Claim to their beneficial owners or to provide the Claims Administrator with lists of the

names and addresses of the beneficial owners, and the Claims Administrator is ordered to

send the Notice and Proof of Claim promptly to such identified beneficial owners. Nominee

purchasers who elect to send the Notice and Proof of Claim to their beneficial owners shall

send a statement to the Claims Administrator confirming that the mailing was made as

directed. Additional copies of the Notice shall be made available to any record holder

requesting such for the purpose of distribution to beneficial owners, and such record holders

shall be reimbursed from the Settlement Fund, upon receipt by the Claims Administrator of

proper documentation, for the reasonable expense of sending the Notice and Proof of Claim

to beneficial owners. Lead Counsel shall, at least fifteen (15) calendar days prior to the



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Settlement Hearing, file with the Court proof, by affidavit or declaration, of mailing of the

Notice and Proof of Claim.

        9.    The Escrow Agent or its agents are authorized and directed to prepare any tax

returns and any other tax reporting form required to be filed on behalf of or in respect of the

Settlement Fund, to cause any Taxes due and owing to be paid from the Settlement Fund,

and to otherwise perform all obligations with respect to Taxes and any reporting or filings in

respect thereof as contemplated by the Stipulation without further order of the Court.

        10.   Lead Counsel shall submit their papers in support of final approval of the

Settlement, the Plan of Allocation, and application for attorneys’ fees and expenses,

including Plaintiffs’ expenses, by no later than forty-five (45) calendar days prior to the

Settlement Hearing. All reply papers in support of such motions shall be filed and served no

later than fifteen (15) calendar days prior to the Settlement Hearing.

        11.   The Claims Administrator shall cause the Summary Notice to be published

once in the national edition of The Wall Street Journal and once over the Business Wire

within seven (7) calendar days of the Notice Date. Lead Counsel shall, at least fifteen (15)

calendar days prior to the Settlement Hearing, file with the Court proof, by affidavit or

declaration, of the publication of the Summary Notice.

        12.   In order to be entitled to participate in the Net Settlement Fund, in the event the

Settlement is effected in accordance with the terms and conditions set forth in the

Stipulation, each Class Member shall take the following actions and be subject to the

following conditions:



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              (a)     A properly executed Proof of Claim, substantially in the form attached

to the Stipulation as Exhibit A-2, must be submitted to the Claims Administrator, online at

www.MedtronicSecuritiesSettlement.com or at the Post Office Box indicated in the Notice,

postmarked or submitted electronically no later than __________, 2018 [a date one hundred-

twenty (120) calendar days from the Notice Date]. Such deadline may be further extended

by Court order. Any Proof of Claim submitted in any other manner shall be deemed to have

been submitted when it was actually received at the address designated in the Notice. Lead

Counsel may, at their discretion, direct the Claims Administrator to accept late submitted

claims if they will not materially delay distribution of the Net Settlement Fund, but will not

incur any liability for declining to do so.

              (b)     The Proof of Claim submitted by each Class Member must satisfy the

following conditions: (i) it must be properly completed, signed and submitted in a timely

manner in accordance with the provisions of the preceding subparagraph; (ii) it must be

accompanied by adequate supporting documentation for the transactions reported therein, in

the form of broker confirmation slips, broker account statements, an authorized statement

from the broker containing the transactional information found in a broker confirmation slip

or such other documentation as is deemed adequate by the Claims Administrator; (iii) if the

person executing the Proof of Claim is acting in a representative capacity, a certification of

his current authority to act on behalf of the Class Member must be included in the Proof of

Claim to the satisfaction of the Claims Administrator; and (iv) it must be complete and

contain no material deletions or modifications of any of the printed matter contained therein

and must be signed under penalty of perjury.
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              (c)    By submitting a Proof of Claim, a Person shall be deemed to have

submitted to the jurisdiction of this Court solely with respect to the claim submitted and the

subject matter of the Settlement and shall (subject to effectuation of the Settlement) release

all Released Claims as against the Released Persons provided in the Stipulation.

        13.   Any Member of the Class who does not submit a Proof of Claim in the manner

stated in this Order or whose Proof of Claim is not otherwise approved by the Court shall be

deemed to have waived his, her, or its right to share in the Net Settlement Fund and shall

forever be barred from sharing in the Net Settlement Fund. In all other respects, however,

any such Member of the Class shall be subject to and bound by all of the terms of the

Stipulation and the Settlement and all proceedings, determinations, orders, and judgments in

the Litigation relating thereto, including, without limitation, the Judgment and the releases

provided for therein, whether favorable or unfavorable to the Class and will be barred from

commencing, maintaining, or prosecuting any of the Released Claims against the Released

Persons unless such Member of the Class has submitted a request to be excluded from the

Class in the manner required by this Order. Notwithstanding the foregoing, late Proofs of

Claim may be accepted for processing as set forth in ¶12 above.

        14.   Class Members shall be bound by all determinations and judgments in the

Litigation, whether favorable or unfavorable, unless such persons request exclusion from the

Class in a timely and proper manner, as hereinafter provided. A putative Class Member

wishing to make such request shall mail the request to the Claims Administrator by First-

Class Mail postmarked no later than _________, 2018 [a date twenty-five (25) calendar days

prior to the Settlement Hearing], to the address designated in the Notice. Such request for
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exclusion shall clearly indicate the name, address, and telephone number of the Person

seeking exclusion, that the sender requests to be excluded from the Class and must be signed

by such person. Such persons requesting exclusion are also directed to state: the date(s),

price(s), and number(s) of shares of Medtronic publicly traded common stock they

purchased, acquired, and sold during the Class Period. The request for exclusion shall not be

effective unless it provides all the required information and is made within the time stated

above, or the exclusion is otherwise accepted by the Court in a manner and with timing not

inconsistent with the right of Medtronic to terminate the Settlement pursuant to the

Stipulation. Putative Class Members requesting exclusion from the Class shall not be

entitled to receive any payment out of the Net Settlement Fund as described in the

Stipulation and Notice. The Claims Administrator is authorized to request from any Person

requesting exclusion documentation sufficient to prove his, her, or its purchases, acquisitions

and/or sales of Medtronic publicly traded common stock during the Class Period. Copies of

all requests for exclusion shall be provided to Defendants’ counsel, as expeditiously as

possible, but in no event later than ten (10) business days before the Settlement Hearing.

        15.   All Class Members shall be bound by all determinations and judgments in the

Litigation concerning the Settlement, including, but not limited to, the releases provided for

therein, whether favorable or unfavorable to the Class.

        16.   Any Class Member that does not request exclusion from the Class may file

objections to the Settlement, the Plan of Allocation, and/or the application by Lead Counsel

for an award of attorneys’ fees and expenses, including Plaintiffs’ expenses. Any such

objections and any supporting papers shall be filed with the Court on or before __________,
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2018 [a date twenty-five (25) calendar days prior to the Settlement Hearing], and also

delivered by hand or First-Class Mail to Ellen Gusikoff Stewart, Robbins Geller Rudman &

Dowd LLP, 655 West Broadway, Suite 1900, San Diego, CA 92101; Christopher F.

Moriarty, Motley Rice LLC, 28 Bridgeside Blvd., Mt. Pleasant, SC 29464; and Joseph G.

Petrosinelli, Williams & Connolly LLP, 725 Twelfth Street, N.W., Washington, D.C. 20005,

by that same date. Any such objection must: (a) clearly indicate the objector’s name,

mailing address, daytime telephone number and e-mail address; (b) state that the objector is

objecting to the proposed Settlement, Plan of Allocation, and/or fee and expense application

in In re Medtronic, Inc. Securities Litigation, Master File No. 0:13-cv-01686-MJD-KMM;

(c) specify the reason(s), if any, for the objection, including any legal support for such

objection; (d) state the number of shares of Medtronic publicly traded common stock owned

as of the beginning of trading on September 8, 2010 (the first day of the Class Period); (e)

list the date(s), price(s) and number(s) of shares of Medtronic publicly traded common stock

purchased, acquired and sold during the Class Period; and (f) provide written documentation

(whether from the objector’s bank, broker or otherwise) of such trading. In order to be

considered, an objection also must be signed by the Class Member making the objection.

Attendance at the Settlement Hearing is not necessary. However, any persons wishing to be

heard orally, either individually or through counsel of his, her, or its own choice, in

opposition to the approval of the Settlement, the Plan of Allocation, and/or the request by

Lead Counsel for attorneys’ fees and expenses, are required to indicate in their written

objection their intention to appear at the Settlement Hearing and to include in their written

objection the identity of any witnesses they may call to testify and copies of any exhibits
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they intend to introduce into evidence at the Settlement Hearing. Class Members do not

need to appear at the hearing or take any other action to indicate their approval. Lead

Counsel and Defendants’ counsel shall promptly furnish each other with copies of any and

all objections that come into their possession.

        17.   Any Class Member who does not object to the Settlement and/or the Plan of

Allocation, and any Class Member who does not object to Lead Counsel’s application for an

award of attorneys’ fees and expenses in the manner prescribed herein and in the Notice,

shall be deemed to have waived such objection and his, her, or its right to object to the

Settlement, this Order, the Judgment, the Plan of Allocation, and Lead Counsel’s application

for an award of attorneys’ fees and expenses, shall be deemed a Class Member and shall

forever be barred and foreclosed from making any objection to the fairness, adequacy or

reasonableness of the proposed Settlement, this Order, the Final Judgment, the Plan of

Allocation, and/or the application by Lead Counsel for an award of attorneys’ fees and

expenses, and from otherwise being heard concerning the Settlement, this Order, the

Judgment, the Plan of Allocation, or Lead Counsel’s application for an award of attorneys’

fees and expenses in this or any other proceeding.

        18.   Pending final determination of whether the Settlement should be approved,

Plaintiffs, all Class Members, and each of them, and anyone who acts or purports to act on

their behalf, shall not institute, commence, or prosecute any action that asserts Released

Claims against any Released Person.




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        19.    Any Class Member may enter an appearance in the Litigation, at his/her/its

own expense, individually or through counsel of his/her/its own choice. If he/she/it does not

enter an appearance, he/she/it will be represented by Lead Counsel.

        20.    All proceedings in the Litigation are stayed until further order of this Court,

except as may be necessary to implement the Settlement or comply with the terms of the

Stipulation. Pending final determination of whether the Settlement should be approved,

neither Plaintiffs nor any Class Member, either directly, representatively or in any other

capacity shall commence or prosecute against any of the Released Persons any action or

proceeding in any court or tribunal asserting any of the Released Claims.

        21.    The passage of title and ownership of the Settlement Fund to the Escrow Agent

in accordance with the terms and obligations of the Stipulation is approved. No person who

is not a Class Member or Plaintiffs’ Counsel shall have any right to any portion of, or in the

distribution of, the Settlement Fund unless otherwise ordered by the Court or otherwise

provided in the Stipulation.

        22.    The contents of the Settlement Fund held by the Escrow Agent shall be deemed

and considered to be in custodia legis, and shall remain subject to the jurisdiction of the

Court until such time as such funds shall be distributed pursuant to this Order, the

Stipulation, the Plan of Allocation, and/or further orders of the Court.

        23.    All reasonable costs incurred in identifying Class Members and notifying them

of the Settlement as well as in administering the Settlement shall be paid as set forth in the

Stipulation.



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        24.   If (a) the Settlement is terminated by Medtronic pursuant to ¶7.3 of the

Stipulation; or (b) any specified condition to the Settlement set forth in the Stipulation is not

satisfied and Lead Counsel or Medtronic elects to terminate the Settlement as provided in the

Stipulation, then, in any such event, the terms of ¶¶7.6 and 7.7 of the Stipulation shall apply,

and this Order shall be null and void, of no further force or effect, without prejudice to any

party, and may not be introduced as evidence or referred to in any actions or proceedings by

any person or entity, and each party shall be restored to his, her or its respective position in

this Litigation as it existed prior to May 31, 2018.

        25.   Neither the Settlement, the Stipulation (whether or not consummated),

including the Exhibits thereto and the Plan of Allocation contained therein (or any other plan

of allocation that may be approved by the Court), the negotiations leading to the execution of

the Stipulation and the Settlement, nor any proceedings taken pursuant to or in connection

with the Stipulation, and/or approval of the Settlement (including any arguments proffered in

connection therewith): (a) shall be offered or received against any Defendant as evidence of

or construed as or deemed to be evidence of any presumption, concession, or admission by

any Defendant of the truth of any allegations by Plaintiffs or any Member of the Class or the

validity of any claim that has been or could have been asserted in the Litigation, or the

deficiency of any defense that has been or could have been asserted in the Litigation or in

any other litigation, or of any liability, negligence, fault, or wrongdoing of any kind of any of

the Defendants or in any way referred to for any other reason as against any of the

Defendants, in any civil, criminal, or administrative action or proceeding, other than such

proceedings as may be necessary to effectuate the provisions of the Stipulation; (b) shall be
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offered or received against any Defendant as evidence of a presumption, concession, or

admission of any fault, misrepresentations, or omission with respect to any statement or

written document approved or made by any Defendant, or against Plaintiffs or any Member

of the Class as evidence of any infirmity in the claims of Plaintiffs and the Class; (c) shall be

offered or received against any Defendant as evidence of a presumption, concession, or

admission of any liability, negligence, fault, or wrongdoing, or in any way referred to for any

other reason as against any of the parties to the Stipulation, in any other civil, criminal, or

administrative action or proceeding; provided, however, that if the Stipulation is approved by

the Court, Defendants and their Related Parties may refer to it to effectuate the release

granted them hereunder; (d) shall be offered or construed as evidence that a class should or

should not be certified in the Litigation if the Settlement is not consummated; or (e) shall be

construed against Defendants, Plaintiffs, or the Class as an admission or concession that the

consideration to be given hereunder represents the amount which could be or would have

been recovered after trial; provided however, that if the Stipulation is approved by the Court,

the Settling Parties and the Released Persons and their respective counsel may refer to it to

effectuate the protections from liability granted thereunder or otherwise to enforce the terms

of the Settlement.

        26.   The Court retains jurisdiction over the Litigation to consider all further matters

arising out of or connected with the Settlement.

DATED: ____________________                 ___________________________________
                                            THE HONORABLE MICHAEL J. DAVIS
                                            UNITED STATES DISTRICT JUDGE



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